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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

MELANIE MOORE,

      Plaintiff,

v.                                                      Case No: 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC. and LUIS
MARQUEZ, Individually and as owner
of Pooches of Largo, Inc.,

      Defendants.


                                RELATED CASE ORDER
                               AND TRACK TWO NOTICE
      It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve

a certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form Notice of Pendency of Other Actions.

      It is FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track Two case.          All parties must comply with the requirements

established in Local Rule 3.05 for Track Two cases. Counsel and any unrepresented

party shall meet within sixty days after service of the complaint upon any defendant or the

first appearance of any defendant, for the purpose of preparing and filing a Case

Management Report. The parties shall be free to meet in person, telephonically, or by

videoconference. The parties shall utilize the Case Management Report form located at

the Court’s website www.flmd.uscourts.gov under ‘About the Judges’ select ‘District
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Judges’, ‘Judge Mary S. Scriven’, ‘Forms’. Unless otherwise ordered by the Court, a

party may not seek discovery from any source before the meeting. Fed. R. Civ. P. 26

(d); Local Rule 3.05(c)(2)(B). Plaintiff is responsible for serving a copy of this notice and

order with attachments upon each party no later than fourteen days after appearance of

the party.

       Please note that Judge Scriven requires the Case Management Report to include

a brief description of the specific nature and relative complexity of the case. See section

II of the Case Management Report.

       DONE AND ORDERED in Tampa, Florida, this 18th day of September, 2020.




Attachments:
      Notice of Pendency of Other Actions [mandatory form]
      Magistrate Judge Consent / Letter to Counsel
      Magistrate Judge Consent Form / Entire Case
      Magistrate Judge Consent / Specified Motions

Case Management Form: www.flmd.uscourts.gov [mandatory form]

Copies to:    All Counsel of Record
              All Pro Se Parties
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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

MELANIE MOORE,

         Plaintiff,

v.                                                         Case No: 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC. and LUIS
MARQUEZ, Individually and as owner
of Pooches of Largo, Inc.,

         Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS
         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____      IS          related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________


_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.

Dated:


_____________________________
Counsel of Record or Pro Se Party
   [Address and Telephone]
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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

MELANIE MOORE,

         Plaintiff,

v.                                                                       Case No: 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC. and LUIS
MARQUEZ, Individually and as owner of
Pooches of Largo, Inc.,

         Defendants.


 NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case,

        Consent to a magistrate judge's authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

Printed names of parties and attorneys          Signatures of parties or attorneys                 Dates




                                               REFERENCE ORDER
        IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.



              DATE                                                          MARY S. SCRIVEN
                                                                      UNITED STATES DISTRICT JUDGE

NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY
         A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
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                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

MELANIE MOORE,

        Plaintiff,

v.                                                            Case No: 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC. and LUIS MARQUEZ,
Individually and as owner of Pooches of Largo, Inc.,

        Defendants.


     NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each motion
identified below (identify each motion by document number and title).

        MOTION(S)              _____________________________________________

                               _____________________________________________

Printed names of parties and attorneys               Signature of parties or attorneys           Date




                                              REFERENCE ORDER

      IT IS ORDERED:         The motions are referred to the United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. ' 636(c).


___________________                                         __________________________________________
         Date                                                            MARY S. SCRIVEN
                                                                   UNITED STATES DISTRICT JUDGE
NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
